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IN THE UNITED STATES DISTRICT COURT

 

 

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UNITED STATES OF AMERICA
Plaintiff,
vs. Case No: 3:18-PO-543-MLC
RAYMOND REINKE
Defendant.
ORDER REVOKING BOND

 

The above matter came before the Court on August 8, 2018 pursuant to a Petition
to Revoke Bond filed by the United States on August 2, 2()18. The Court, having
considered evidence and arguments of counsel has found the defendant violated

conditions of bond imposed on August 2, 2018. Bond is hereby revoked

'”f\
Dated this g day ofAugust, 2018.

 

    

MARK L.' CARMAN
UNITED sTATEs MAGIS,TRATE JUDGE.

